            Case
            Case3:18-cv-00329-GPC-JLB
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AO 441   Summons in a Civil Action



                                     United States District Court
                                       SOUTHERN DISTRICT OF CALIFORNIA

    Craig Cunningham



                                                                       Civil Action No. 18-cv-0329-GPC-JLB
                                                        Plaintiff
                               V.
    Student Loan Advocacy Group, dba Student Loan
    Processing Center; Does 1 - 10; Ajit Ahooja; David
    Pearlman; Michael Hultz; Does 4-10


                                                      Defendant

                  First Amended Complaint         SUMMONS IN A CIVIL ACTION
    To: (Defendant's name and address)

              David Pearlman
              Student Loan Advocacy Group
              3954 Murphy Canyon Road, Suite D206
              San Diego, California 92123
              A lawsuit has been filed against you.
            Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days
    if you are the United States or a United States agency, or an office or employee of the United States described
    in Fed. R. Civ. P. 12(a)(2) or (3) - You must serve on the plaintiff an answer to the attached complaint or a
    motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the
    plaintiff or plaintiff's attorney, whose name and address are:

              Jon Bernhard Fougner
              600 California Street, 11th Floor
              San Francisco, CA 94108


          If you fail to respond, judgment by default will be entered against you for the relief demanded in the
    complaint. You also must file your answer or motion with the court.

    Date:                5/1/18                                     John Morrill
                                                                    CLERK OF COURT
                                                                    S/            D. Gilbert
                                                                            Signature of Clerk or Deputy Clerk
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